Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 1 of 30




          IN TH E U N ITE D S TA TE S D IS TRICT CO U RT
          F O R TH E SO U TH E RN D IS TRICT O F TE XA S
                      H O U S TON D IV IS IO N

DHI GROUP, INC. F/K/A DICE
HOLDINGS, INC. AND
RIGZONE.COM, INC.,

                 Plaintiffs,
   v.                                  C.A. NO.: 16-cv-01670
DAVID W. KENT, JR., SINGLE
INTEGRATED OPERATIONS
PORTAL, INC. D/B/A OILPRO AND
OILPRO.COM, ET AL.,
                 Defendants.


           PLAINTIFFS’ RESPONSE TO DAVID KENT AND
           OILPROS’ MOTION FOR SUMMARY JUDGMENT

                              JORDAN, LYNCH & CANCIENNE PLLC

                              Walter Lynch
                              State Bar No. 24046330
                              Federal ID No. 965265
                              Amir Halevy
                              State Bar No. 24065356
                              Federal ID No. 1259956
                              Joseph (“Jeb”) W. Golinkin II
                              State Bar No. 24087596
                              Federal ID No. 2515657
                              1980 Post Oak Blvd., Ste. 2300
                              Houston, Texas 77056
                              713-955-4020 (Telephone)
                              wlynch@jlcfirm.com
                              ahalevy@jlcfirm.com
                              jgolinkin@jlcfirm.com

                              ATTORNEYS FOR PLAINTIFFS DHI GROUP,
                              INC. F/K/A DICE HOLDINGS, INC. AND
                              RIGZONE.COM, INC.
       Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 2 of 30



                                                TABLE OF CONTENTS
CONTENTS

I.       SUMMARY OF ARGUMENT ..................................................................................... 1

II.      STANDARD OF REVIEW............................................................................................ 1

III.     STATEMENT OF FACTS ............................................................................................. 2

IV.      ARGUMENT AND AUTHORITIES ........................................................................... 2

         A.        No Claims Are Preempted. .............................................................................. 2

         B.        Defendants Are Not Entitled to Summary Judgment on Plaintiffs’
                   Common-Law Misappropriation of Confidential Information
                   Claim, and Plaintiffs Have Dropped Their Unfair Competition
                   Claim. ................................................................................................................. 4

         C.        Defendants Are Entitled To Summary Judgment On Plaintiffs’
                   Texas Theft Liability Act Claim. ...................................................................... 5

         D.        Kent Repeatedly Breached His Fiduciary Duties To DHI. ............................ 5

         E.        Plaintiffs’ Have Conclusively Established Kent Violated TUTSA. ............... 7

                   1.         The Resume Database Is A Trade Secret Compilation. .............................. 7

                   2.         David Kent Has Repeatedly Admitted That Rigzone Took
                              Reasonable Measures To Protect The Confidentiality Of The
                              Resume Database.................................................................................... 10

                   3.         Binding Fifth Circuit Caselaw Establishes That Defendants Have
                              Been Damaged. ....................................................................................... 14

         F.        Defendants Violated the Stored Communications Act. ............................... 16

         G.        Plaintiffs Can Establish A RICO Claim. ........................................................ 18

                   1.         Defendants’ Acts Were Continuous........................................................ 18

                   2.         Plaintiffs Sustained RICO Damages....................................................... 21

                   3.         The Remainder of Defendants’ Kitchen Sink Arguments Are
                              Frivolous. ............................................................................................... 22

         H.        Plaintiffs Have Evidence Of Damages Under The CFAA. .......................... 22

         I.        Defendants Are Not Entitled To Summary Judgment On Plaintiffs’
                   THACA Claim. ................................................................................................ 23

         J.        Limitations Does Not Bar Plaintiffs’ Claims Based On First Access........... 24

V.       CONCLUSION ........................................................................................................... 24


                                                                    i
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 3 of 30




                                             TABLE OF AUTHORITIES

                                                                                                                           Page(s)

Cases

360 Mortg. Grp., LLC v. Homebridge Fin. Servs., Inc.,
   No. A-14-CA-00847-SS, 2016 WL 900577 (W.D. Tex. Mar. 2, 2016) .............................. 10

Alliantgroup, L.P. v. Feingold,
    803 F. Supp. 2d 610 (S.D. Tex. 2011) (Rosenthal, J.) ......................................................... 9

Arroyo v. Oprona, Inc.,
   No. CV H-16-852, 2017 WL 3866425 (S.D. Tex. Sept. 5, 2017), aff’d, No. 17-
   20576, 2018 WL 2026996 (5th Cir. Apr. 30, 2018), opinion withdrawn and
   superseded on reh’g, 736 F. App’x 427 (5th Cir. 2018) ...................................................... 21

Cedric Kushner Promotions, Ltd. v. King,
   533 U.S. 158 (2001) ............................................................................................................ 25

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) .............................................................................................................. 5

Cheng v. Romo,
   No. CIV.A. 11-10007-DJC, 2013 WL 6814691 (D. Mass. Dec. 20, 2013)......................... 20

Collins v. Ryon’s Saddle & Ranch Supplies, Inc.,
   576 S.W.2d 914 (Tex. App.—Fort Worth 1979, no writ) ................................................ 10

Downhole Tech. LLC v. Silver Creek Servs. Inc.,
  No. CV H-17-0020, 2017 WL 1536018 (S.D. Tex. Apr. 27, 2017) ...................................... 7

Eagle Oil & Gas Co. v. Shale Expl., LLC,
   549 S.W.3d 256 (Tex. App.—Houston [1st Dist.] 2018, pet. dism’d) ............................ 13

Fiber Sys. Intern., Inc. v. Roehrs,
    470 F.3d 1150 (5th Cir. 2006) ............................................................................................ 25

Garcia v. City of Laredo, Tex.,
   702 F.3d 788 (5th Cir. 2012) .............................................................................................. 19

Gilmore v. Sammons,
   269 S.W. 861 (Tex. Civ. App.—Dallas 1925, writ ref’d) ................................................... 8




                                                                  ii
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 4 of 30



Int’l Bhd. of Elec. Workers, Local 134 v. Cunningham,
    No. 12 C 7487, 2013 WL 1828932 (N.D. Ill. Apr. 29, 2013) ............................................. 20

Little v. Liquid Air Corp.,
    37 F.3d 1069 (5th Cir. 1994) (en banc) ............................................................................... 6

Matter of Mandel,
  720 F. App’x 186 (5th Cir. 2018), cert. denied sub nom. Mandel v. Thraser, No.
  18-25, 2018 WL 3306840 (U.S. Oct. 1, 2018)..................................................................... 18

Matter of Mandel,
  720 Fed. Appx. 186 (5th Cir. 2018)................................................................................... 17

Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
  475 U.S. 574 (1986) .............................................................................................................. 5

Metallurgical Indus. Inc. v. Fourtek, Inc.,
   790 F.2d 1195 (5th Cir. 1986) ............................................................................................ 13

Playboy Enters, Inc. v. Webbworld, Inc.,
   991 F. Supp. 543 (N.D. Tex. 1997), aff’d, 168 F.3d 486 (5th Cir. 1999).............................. 8

Puig v. High Standards Networking & Computer Serv., Inc.,
   01-16-00921-CV, 2017 WL 4820171 (Tex. App.—Houston [1st Dist.] Oct. 26,
   2017, no pet.) ..................................................................................................................... 26

Pure Power Boot Camp v. Warrior Fitness Boot Camp,
   587 F.Supp.2d 548 (S.D. N.Y.2008) .................................................................................. 21

Royal v. CCC & R Tres Arboles, L.L.C.,
   736 F.3d 396 (5th Cir. 2013) ................................................................................................ 5

Samsung Elecs. Am., Inc. v. Yang Kun Chung,
   No. 3:15-CV-4108-D, 2017 WL 635031 (N.D. Tex. Feb. 16, 2017) .................................... 9

Steve Jackson Games, Inc. v. United States Secret Service,
   36 F.3d 457 (5th Cir. 1994) ................................................................................................ 19

Sw. Airlines Co. v. Farechase, Inc.,
   318 F. Supp. 2d 435 (N.D. Tex. 2004)............................................................................... 26

Theofel v. Farey-Jones,
   359 F.3d 1066 (9th Cir. 2004) ............................................................................................ 20

In re TXCO Res., Inc.,
    475 B.R. 781 (Bankr. W.D. Tex. 2012) .............................................................................. 17


                                                                   iii
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 5 of 30



U.S. Sporting Prod., Inc. v. Johnny Stewart Game Calls, Inc.,
   865 S.W.2d 214 (Tex. App.—Waco 1993, writ denied) ...................................................... 8

Ultraflo Corp. v. Pelican Tank Parts, Inc.,
   926 F. Supp. 2d 935 (S.D. Tex. 2013) ................................................................................ 13

United States v. Cauble,
   706 F.2d 1322 (5th Cir. 1983) ............................................................................................ 24

United States v. Nosal,
   844 F.3d 1024 (9th Cir. 2016), cert. denied, 138 S. Ct. 314, 199 L. Ed. 2d 207
   (2017) ................................................................................................................................. 12

United States v. Turkette,
   452 U.S. 576 (1981) ............................................................................................................ 25

University Computing Company. v. Lykes-Youngstown Corporation,
   504 F.2d 518 (5th Cir. 1974) .............................................................................................. 17

Word of Faith World Outreach Ctr. Church, Inc. v. Sawyer,
  90 F.3d 118 (5th Cir. 1996) .................................................................................... 21, 22, 24




                                                                     iv
    Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 6 of 30



       Plaintiffs DHI Group, Inc. (“DHI”) and Rigzone.com, Inc. D/B/A Rigzone and

Rigzone.com (collectively, “Rigzone” and together with DHI Group, “Plaintiffs”) file this

Response to Defendants David Kent’s and Oilpro’s Motion for Summary Judgment.

                          I.         SUMMARY OF ARGUMENT

       As this Court knows, David Kent pleaded guilty to stealing 796,000 resumes from

Rigzone. He also warranted, and subsequently confirmed, that the Rigzone Resume

Database is a trade secret compilation that he and Rigzone took reasonable measures to

keep secret. Undeterred, Defendants have now filed a motion for summary judgment in

which they claim that Kent’s prior representations are meaningless and that Defendants’

are entitled to summary judgement on every one of Plaintiffs’ claims. Defendants’ Motion

is—with one exception—completely baseless. As set out below, the Court should deny

Defendants’ Motion in its entirety except on Plaintiffs’ Texas Theft Liability Act claim.

                               II.    STANDARD OF REVIEW

       Summary judgment is appropriate if there is no genuine issue of material fact and

the moving party is entitled to judgment as a matter of law. FED. R. CIV. P. 56; Celotex Corp.

v. Catrett, 477 U.S. 317, 322-23 (1986). A genuine dispute of material fact exists if the

“evidence is such that a reasonable jury could return a verdict for the nonmoving party.”

Royal v. CCC & R Tres Arboles, L.L.C., 736 F.3d 396, 400 (5th Cir. 2013) (quoting Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). Once the movant provides the basis of its

motion and identifies the portions of the record that demonstrate the lack of a genuine

issue of material fact, the burden is on the nonmovant to establish the existence of a

genuine issue for trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 585-


                                              1
       Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 7 of 30



87 (1986). The nonmovant “must do more than simply show that there is some

metaphysical doubt as to the material facts” and instead “must come forward with

‘specific facts showing that there is a genuine issue for trial.’” Id. at 586–87 (citations

omitted). “If the nonmoving party fails to meet this burden, the motion for summary

judgment must be granted.” Little v. Liquid Air Corp., 37 F.3d 1069, 1076 (5th Cir. 1994) (en

banc).

                                  III.    STATEMENT OF FACTS

          In their Motion, Defendants offer a self-serving and largely erroneous recitation of

what they claim are “undisputed” background facts. Rather than waste the Court’s time

rebutting each of these “facts,” Plaintiffs incorporate the facts, analysis, and exhibits

referenced in their Motion for Partial Summary Judgment, pursuant to Federal Rule of

Civil Procedure 10(c). 1

                            IV.     ARGUMENT AND AUTHORITIES

A.        No Claims Are Preempted.

          Defendants argue that Plaintiffs’ claims for Misappropriation of Confidential

Information; violations of the Texas Theft Liability Act; Breach of Fiduciary Duty; and

Texas Harmful Access by Computer Act are preempted by the Texas Uniform Trade

Secrets Act (“TUTSA”) because they are “based on the alleged misappropriation of the

same information underlying Plaintiffs’ trade secret claims.”2 Since Defendants

vigorously maintain the contents of the Rigzone Resume Database is not a trade secret,

Defendants’ argument that these claims are preempted because they are based on the


1   See Plaintiffs’ Motion for Partial Summary Judgment (ECF 227).
2   Defendants’ Motion for Summary Judgment (ECF 231) at 13-15.

                                                     2
    Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 8 of 30



misappropriation of trade secrets makes no sense. Not surprisingly, Judge Rosenthal and

Judge Lake have both explicitly rejected this blanket preemption argument.

       In AMID, Inc. v. Medic Alert Foundation United States, Inc., the defendant argued

that TUTSA preempted the plaintiff’s common-law claim for Unfair Competition by

Misappropriation. 241 F. Supp. 3d 788, 825-827 (S.D. Tex. 2017). Judge Rosenthal rejected

the blanket preemption argument, explaining that the plaintiff “essentially pleaded

alternative theories of relief. It sought relief on the theory that [defendant]

misappropriated information protected as trade secrets, and alternatively under the

theory that the misappropriated information was not a trade secret but was confidential.”

Id. (emphasis added). Judge Rosenthal also explained that “[defendant] denies that the

information at issue is a trade secret, but [plaintiff] could recover on its tort claim without

proving that the information is protected as trade secrets.” Id. at 827 (emphasis added).

       Judge Lake subsequently agreed with Judge Rosenthal and rejected the argument

Defendants encourage this Court to apply. Downhole Tech. LLC v. Silver Creek Servs. Inc.,

No. CV H-17-0020, 2017 WL 1536018, at *4 (S.D. Tex. Apr. 27, 2017). In Downhole

Technology, “Defendants argue[d] that [the plaintiff’s] claims for breach of fiduciary duty,

tortious interference, and unjust enrichment [were] preempted by the TUTSA.” Id. Judge

Lake expressly relied on the “clear analysis of preemption under TUTSA” provided by

Judge Rosenthal in AMID and held that “[b]ecause [the plaintiff’s] claims involve activity

other than misappropriation of trade secrets and permit recovery in the event that the

information obtained and used by defendants does not qualify as ‘trade secrets,’ the claims are

not preempted by the TUTSA.” Id. at *3-4 (emphasis added). Together, the AMID and

                                               3
       Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 9 of 30



Downhole Technology cases make clear that Plaintiffs claims for Misappropriation of

Confidential Information; violations of the Texas Theft Liability Act; Breach of Fiduciary

Duty; and violations of the Texas Harmful Access by Computer Act should not be

preempted by TUTSA yet, in the unlikely event that the theft of the contents of the

Rigzone Resume Database is determined to be something other than the theft of trade

secrets. See id.; AMID, 241 F. Supp. 3d at 825-27.

B.        Defendants Are Not Entitled to Summary Judgment on Plaintiffs’ Common-
          Law Misappropriation of Confidential Information Claim, and Plaintiffs Have
          Dropped Their Unfair Competition Claim.

          Defendants next argue that this Court should dismiss Plaintiffs’ “Common-Law

Misappropriation” claim because “Plaintiffs suffered no ‘commercial damage’ at all.”3

Defendants must be confused: Misappropriation of Confidential Information (Count IX)

is a separate and distinct cause of action with different elements than Unfair Competition

by Misappropriation (Count XVI). While the cases Defendants cite do show that Unfair

Competition by Misappropriation requires proof of “commercial damage,” they are

irrelevant because Plaintiffs have already withdrawn Count XVI. But none of the cased

cited by Defendants—Gilmore, Playboy, and U.S. Sporting Prod.—address the elements of

Plaintiffs’ live misappropriation claim, Count IX for Misappropriation of Confidential

Information. See U.S. Sporting Prod., Inc. v. Johnny Stewart Game Calls, Inc., 865 S.W.2d 214,

217–18 (Tex. App.—Waco 1993, writ denied); Playboy Enters,, Inc. v. Webbworld, Inc., 991 F.

Supp. 543, 558 (N.D. Tex. 1997), aff’d, 168 F.3d 486 (5th Cir. 1999); Gilmore v. Sammons, 269

S.W. 861, 863 (Tex. Civ. App.—Dallas 1925, writ ref’d).


3   Defendants’ Motion for Summary Judgment (ECF 231) at 16.

                                                   4
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 10 of 30



       Misappropriation of Confidential Information is a separate cause of action and

does    not   require   proof    of   “commercial      damage.”     “To    state   a   claim

for misappropriation of confidential information, [plaintiff] must plausibly allege (1) the

existence of confidential information, (2) breach of a confidential relationship or improper

discovery of confidential information, (3) use of the confidential information without the

plaintiff’s authorization, and (4) resulting damages.” Samsung Elecs. Am., Inc. v. Yang Kun

Chung, No. 3:15-CV-4108-D, 2017 WL 635031, at *14 (N.D. Tex. Feb. 16, 2017); Alliantgroup,

L.P. v. Feingold, 803 F. Supp. 2d 610, 624 (S.D. Tex. 2011) (Rosenthal, J.) (“Courts in Texas

identify trade secrets, proprietary information, and confidential information separately

but provide them similar protection if the requirements—including that of secrecy—are

met.”). Because “commercial damage” is not an element of Plaintiffs’ Misappropriation

of Confidential Information claim and Defendants’ attack of that claim is premised solely

on its absence, Defendants are not entitled to summary judgment on Plaintiffs’ Count IX.

C.     Defendants Are Entitled To Summary Judgment On Plaintiffs’ Texas Theft
       Liability Act Claim.

       A review of Defendants’ arguments related to Plaintiffs’ Texas Theft Liability Act

claim reveals that Defendants are right: they are entitled to summary judgment on that

claim, Count XI of Plaintiffs’ Complaint.

D.     Kent Repeatedly Breached His Fiduciary Duties To DHI.

       In their attempt to defeat Plaintiffs’ Breach of Fiduciary Duties claim (Count XV),

Defendants argue that the record does not contain enough evidence to raise a genuine

issue of material fact about whether Kent breached a fiduciary duty when he used a secret



                                             5
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 11 of 30



backdoor to hack into Rigzone and steal 796,000 resumes. 4 Defendants’ argument is built

on a misunderstanding of the law.

          Citing T-N-T Motorsports, Inc. v. Hennessey Motorsports, Inc., Defendants

disingenuously argue that the only duty that survives the end of an executive’s

employment is “the duty not to disclose trade secrets.” 5 965 S.W.2d 18, 22 (Tex. App.—

Houston [1st Dist.] 1998, pet. dism’d). But T-N-T provides no support for such a narrow

view of continuing fiduciary duties. Indeed, T-N-T follows all other similar cases in

holding that the duty that forbids the former employee “from using confidential or

proprietary information acquired during the relationship in a manner adverse to the

employer” survives termination of employment. Id. at 21-22 (stating a former employee

has a duty not to use confidential, proprietary, or trade secret information acquired

during the employment ”in a manner adverse to the employer”). See also 360 Mortg. Grp., LLC

v. Homebridge Fin. Servs., Inc., No. A-14-CA-00847-SS, 2016 WL 900577, at *5 (W.D. Tex.

Mar. 2, 2016); Collins v. Ryon’s Saddle & Ranch Supplies, Inc., 576 S.W.2d 914, 915 (Tex.

App.—Fort Worth 1979, no writ) (“Even though no written contract is involved, an

employee cannot use confidential information or trade secrets acquired while working

for her former employer.”) (emphasis added). This entire argument, however, is moot

because Kent has repeatedly warranted and subsequently affirmed that the stolen

resumes are trade secrets. Moreover, independent of the classification of the stolen

resumes as trade secrets, Kent used confidential information about the design and



4   Defendants’ Motion for Summary Judgment (ECF 231) at 20.
5   Id.

                                                   6
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 12 of 30



structure of the Rigzone website and database to perpetrate his thefts. Defendants’

attempt to claim that the website functionality used by Kent was not a “secret backdoor”

misses the point. Yes, others at Rigzone were aware of the functionality used by Kent to

gain access to the resumes, but that in no way establishes that the access method was not

confidential information limited to Rigzone personnel. Since it was, Kent violated his

continued fiduciary duty by using it in a manner adverse to Rigzone.

E.     Plaintiffs’ Have Conclusively Established Kent Violated TUTSA. 6

       Defendants next argue that they are entitled to summary judgment on Plaintiffs’

TUTSA claim because (1) they allege that the contents of the Resume Database are not

trade secrets; and (2) Plaintiffs cannot show that they were damaged. For the reasons set

out below, both arguments are wrong.

       1.      The Resume Database Is A Trade Secret Compilation.

       Defendants’ ignore Kent’s contractual warranties and subsequent testimony to

argue that the Rigzone Resume Database is not a trade secret because it did not take a lot

of time and effort to create and because Defendants “took no measures to keep the

resumes secret.” 7

       In reality, Kent warranted, as part of his 2010 sale of Rigzone to DHI, that the

contents of the Resume Database were trade secrets. In his deposition, Kent explicitly

admitted that the contents of Rigzone’s Resume Database are “trade secrets” as defined




6 For more detail on this subject, see Plaintiffs’ Motion for Partial Summary Judgment (ECF 227) which
Plaintiffs have incorporated by reference.
7 Defendants’ Motion for Summary Judgment (ECF 231) at 23, 28.


                                                  7
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 13 of 30



by the Purchase Agreement. 8 Kent also testified that DHI, post-purchase, actually

enhanced the database security. Revealingly, Defendants do not cite a single Texas case

to support their argument that the compilation of resumes stolen from Rigzone is not a

trade secret. And even the tangentially relevant authority Defendants do cite does not

support their position. For instance, Defendants rely on United States v. Nosal to suggest

that the Rigzone database needed to contain “salaries and other nonpublic information”

for it to be considered a trade secret compilation. 9 Nosal provides no such support. On

the contrary, Nosal flatly rejects the very argument Defendants now make: “[t]he thrust

of Nosal’s argument is that the source lists are composed largely, if not entirely, of public

information and therefore couldn’t possibly be trade secrets. But he overlooks the

principle that a trade secret may consist of a compilation of data, public sources or a

combination of proprietary and public sources.” United States v. Nosal, 844 F.3d 1024, 1030

(9th Cir. 2016), cert. denied, 138 S. Ct. 314, 199 L. Ed. 2d 207 (2017). In fact, the Nosal court

held that “[t]he source lists in question are classic examples of a trade secret that derives

from an amalgam of public and proprietary source data. To be sure, some of the data

came from public sources and other data came from internal, confidential sources. But

cumulatively, the Searcher database contained a massive confidential compilation of data, the

product of years of effort and expense.” Id. (emphasis added). If this sounds familiar, that is

because the evidence in this case establishes that the Rigzone Resume Database is also a




8   D. Kent Dep. Tr. (ECF 227, Ex. 4) at 207:1-208:9.
9   Defendants’ Motion for Summary Judgment (ECF 231) at 24-25.

                                                   8
   Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 14 of 30



massive compilation of confidential information that took huge amounts of time and

effort to compile.

       Moreover, TUTSA does not require novelty or uniqueness to protect trade secrets.

Ultraflo Corp. v. Pelican Tank Parts, Inc., 926 F. Supp. 2d 935, 960 (S.D. Tex. 2013). In fact,

Texas courts have repeatedly made clear that a collection of components or

characteristics, each of which is in the public domain, may combine to qualify as a trade

secret if those components together afford the plaintiff a competitive advantage.

Metallurgical Indus. Inc. v. Fourtek, Inc., 790 F.2d 1195, 1202 (5th Cir. 1986); Eagle Oil & Gas

Co. v. Shale Expl., LLC, 549 S.W.3d 256, 269–70 (Tex. App.—Houston [1st Dist.] 2018, pet.

dism’d). For example, earlier this year, Houston’s First Court of Appeals rejected a

defendant’s argument—identical to the one these Defendants raise here—that a

compilation of mineral interests entirely derived from public records was not protectable

as a trade secret compilation. Eagle Oil & Gas Co. v. Shale Expl., LLC, 549 S.W.3d 256, 269–

70 (Tex. App.—Houston [1st Dist.] 2018, pet. dism’d) (internal citations omitted). In so

doing, the Court affirmed the jury’s verdict that this compilation of information from

public records was a trade secret compilation. Id.

       The evidence in this case clearly shows that Rigzone Resume Database took

considerable time and effort to build. David Kent’s own brother—who worked at

Rigzone for years before he blatantly violated his non-compete to become the Vice

President at Oilpro—testified that it took many people a lot of time and effort to build the




                                               9
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 15 of 30



Rigzone Resume Database. 10 Similarly, Jeremy Antonini—David Kent’s best friend and

the co-founder of Rigzone who became Oilpro’s Head of Technology—testified at length

about the considerable effort it took to grow the Rigzone Resume Database, and about

how it would not be easy to replicate that database. 11 Finally, Rigzone’s President

testified that “there’s significant costs in getting a candidate to the website and to the

place where they’re going to upload their CV.” 12

       The record also makes clear that the Resume Database gave Rigzone an advantage

over its competitors. During his deposition, David Kent testified that the Resume

Database gave Rigzone a competitive advantage over Oilpro and its other competitors. 13

This admission is in addition to Kent’s testimony from his sentencing hearing that he

“took the resumes for [his] own commercial advantage to help [his] business Oilpro.”14

       2.      David Kent Has Repeatedly Admitted That Rigzone Took Reasonable
               Measures To Protect The Confidentiality Of The Resume Database.

       Defendants argue that Plaintiffs “took no measures to keep the resumes secret.” 15

However, Defendants once again ignore essential evidence, including the contractual

representations made by David Kent at the time of the sale, and his subsequent testimony

as part of this litigation.

       Defendants ignore Kent’s admissions and instead offer a laundry list of “evidence”

they claim shows Rigzone did not take reasonable measures to protect the confidentiality



10 Matt Kent Dep. Tr. (Ex. 1) at 33:2-20.
11 J. Antonini Dep. Tr. (ECF 227, Ex. 5) at 20:12-32:12.
12 Chad Norville Dep. Tr. (Ex. 2) at 226:13-15.
13 Id. at 61:20-62:14.
14 Id. at 13:5-9.
15 Defendants’ Motion for Summary Judgment (ECF 231) at 28.


                                                10
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 16 of 30



of the Rigzone Resume Database. 16 For example, Defendants seek to persuade the Court

that there was nothing to prevent Rigzone’s customers from purchasing a subscription,

downloading large numbers of resumes, and then either publishing them online or

starting a competing website. 17 Defendants must not have read the Petronas contract they

cite to support this contention, because its content destroys each of Defendants’ repetitive

complaints on this subject. While not literally titled “nondisclosure agreement,” this

document shows that Rigzone customers signed a contract in which they specifically

agreed “not to use any robot, spider, site search/retrieval application, or other manual or

automatic device or process to retrieve, index, “data mine,” or in any way reproduce or

circumvent the navigational structure of the site or its contents without Rigzone.com

prior written authorization.”18 The contract also states that it is “subject to Rigzone.com

Terms       and   Conditions (available         at    http://www.rigzone.com/terms.asp)              and

[Petronas’] execution of [the contract] constitutes [its] commitment that all named users

covered by this agreement will comply with such terms of use, as they may be amended

from time to time.”19 The Terms of Use explicitly state that customers may not:

            Resell or make available to any person not expressly licensed by
             Rigzone, whether via phone, fax, e-mail, mail, or any other medium, any
             of the Rigzone services or any information obtained therefrom,
             including without limitation the resumes/CVs or candidate
             information;
            Delete or revise any material posted by any other person or entity;

16 Defendants also jump through hoops to make the list appear longer than it is. Number 8 (“Rigzone did
not maintain a list of all NDAs that have been signed”) is substantively identical to Number 10 (“Rigzone
did not have a comprehensive list of all nondisclosure agreements”). Other duplicates include 9 & 12; 18 &
19; 27, 28, & 29; 31 & 32.
17 Defendants’ Motion for Summary Judgement (ECF 231) at 30, n. 77.
18 See Petronas Contract (ECF 233) at Appendix 1012.
19 Id.


                                                     11
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 17 of 30



           Modify, adapt, sublicense, translate, sell, reverse engineer, decompile or
            disassemble any portion of the site;
           Print out or otherwise copy or use any personally identifiable
            information about candidates for purposes other than consideration of
            the candidates for potential employment by your company. 20

        Plaintiffs could continue with a point by point rebuttal of Plaintiffs’ repetitive

assertions, but this would be besides the point because Kent knew about all of these

“problems” when he sold his website to DHI for $51 million. In that transaction, Kent

signed a contract in which he personally warranted that Rigzone “ha[d] taken all

necessary and otherwise reasonable steps to protect and preserve the confidentiality of

all of its trade secrets.”21 The Purchase Agreement defines “trade secret” as “any trade

secrets or other proprietary and confidential information including . . . Personal

Information . . . [and] data collections.”22 The Purchase Agreement defines “Personal

Information” as “[a]ll information or data associated with individual Persons, including

customers and employees, that is collected by the Company in the course of its

operations.” 23

        In his deposition, Kent further testified that his representation to DHI in the

Purchase Agreement that Rigzone took reasonable steps to protect the confidentiality of

its trade secrets—including the contents of the Rigzone Resume Database—was true

when he signed the Purchase Agreement. 24 According to Kent, “[Rigzone] took all



20 Rigzone-Terms of Use (Ex. 3) at DHI_0192890.
21 Stock Purchase Agreement (ECF 227, Ex. 1) at 14, Section 3.20(c); D. Kent Dep. Tr. (ECF 227, Ex. 4) at
205:23-206:2, 211:18-213:4.
22 Stock Purchase Agreement (ECF 227, Ex. 1) at 54-55; D. Kent Dep. Tr. (ECF 227, Ex. 4) at 205:23-206:2.
23 Stock Purchase Agreement (ECF 227, Ex. 1) at 52; D. Kent Dep. Tr. (ECF 227, Ex. 4) at 206:13-20.
24 D. Kent Dep. Tr. (ECF 227, Ex. 4) at 213:5-7.


                                                   12
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 18 of 30



reasonable steps to protect the website.”25 Kent further admitted that DHI undertook

“additional work to protect the website and the database of Rigzone.”26 Kent also

acknowledged that DHI retained Ernst & Young (“E&Y”) to perform an independent and

external audit of Rigzone’s security measures. 27 Thus Kent’s own testimony proves that

despite all the security measures in place at the time of the sale, DHI supplemented and

improved site security to protect the trade secrets it had purchased for over $50 million.

Indeed, the reality is that Kent actually testified that he thought the E&Y audit was

unnecessary and that the website was secure: “I thought the security was fine on the

website. I didn’t think we needed to do—do that work, but I went along with it.”28 Not

surprisingly, Defendants are now running from, and ignoring, Kent’s own words.

        Plaintiffs, however, did not ignore E&Y’s findings and recommendations. Jeremy

Antonini, a co-founder of Rigzone who stayed on after the sale until the middle of 2013,

and subsequently joined Oilpro, confirmed that post-sale to DHI, Rigzone “did go

through an audit from E&Y that then highlighted some potential security issues that were

remediated.”29 E&Y’s focus “was to examine the Rigzone system from . . . an external

basis [] to see if there were any vulnerabilities []that could be exploited.”30




25 Id. at 213:13-14 (emphasis added)
26 Id. at 213:23-214:7.
27 Id. at 214:8-12.
28 Id. at 214:21-215:1.
29 J. Antonini Dep. Tr. (ECF 227, Ex. 5) at 20:25-21:8.
30 Id. at 113:9-17.


                                                          13
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 19 of 30



          3.      Binding Fifth Circuit Caselaw Establishes That Defendants Have Been
                  Damaged.

          Defendants claim that “[a] plaintiff may only recover total value when the trade

secret was published or destroyed.”31 For this proposition, Defendants cite University

Computing Company. v. Lykes-Youngstown Corporation, 504 F.2d 518, 535 (5th Cir. 1974), In

re TXCO Res., Inc., 475 B.R. 781, 824 (Bankr. W.D. Tex. 2012), and Matter of Mandel, 720

Fed. Appx. 186, 192 (5th Cir. 2018) (citing Wellogix, Inc. v. Accenture, L.L.P., 716 F.3d 867,

879 (5th Cir. 2013)). However, all these cases specifically differentiate between the “total”

value of the trade secret and the appropriate measure of damages for theft of trade

secrets. In other words, “total value” of the stolen trade secrets is not the only measure

of damages.

          The court in Universal Computing stated that “[w]here the damages are uncertain,

however, we do not feel that that uncertainty should preclude recovery; the plaintiff

should be afforded every opportunity to prove damages once the misappropriation is

shown.” Univ. Computing Co., 504 F.2d at 539. And the court in In re TXCO, added that

“[w]here a trade secret has not been destroyed and the plaintiff is unable to prove a

specific injury, the accepted approach to damages measures the value of the

misappropriated trade secrets to the defendant.” In re TXCO Res., Inc., 475 B.R. at 825.




31   Defendants’ Motion for Summary Judgment (ECF 231) at 36.

                                                  14
   Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 20 of 30



      The Fifth Circuit’s recent opinion in Mandel II is even more damaging to the

Defendants’ argument:

      Mandel I quoted from Wellogix, Inc. v. Accenture, L.L.P., 716 F.3d 867 (5th Cir.
      2013), which gives some examples of ways to assess trade secret
      misappropriation damages: “Damages in misappropriation cases can take
      several forms: the value of plaintiff’s lost profits; the defendant’s actual profits from
      the use of the secret, the value that a reasonably prudent investor would have paid
      for the trade secret; the development costs the defendant avoided incurring through
      misappropriation; and a reasonable royalty.” 578 Fed. Appx. at 390
      (quoting Wellogix, 716 F.3d at 879). This flexible approach has been
      approved by the Texas Supreme Court, which has held that “[a] flexible and
      imaginative approach is applied to the calculation of damages in
      misappropriation-of-trade-secrets cases.” Sw. Energy Prod. Co. v. Berry-
      Helfand, 491 S.W.3d 699, 710 (Tex. 2016) (quoting Univ. Computing Co. v.
      Lykes-Youngstown Corp., 504 F.2d 518, 538 (5th Cir.1974)). Texas requires
      “reasonable certainty” to establish lost profits, but not for other methods of
      assessing damages. (emphasis added).

Matter of Mandel, 720 F. App'x 186, 190–91 (5th Cir. 2018), cert. denied sub nom. Mandel v.

Thraser, No. 18-25, 2018 WL 3306840 (U.S. Oct. 1, 2018). In sum, contrary to Defendants

assertions, Fifth Circuit precedent establishes that damages from misappropriation of

trade secrets can be calculated in multiple different ways, including what a prudent

investor would have paid for the trade secrets. Put simply, the available damages include

the value of the misappropriated trade secrets. Plaintiffs have presented the recoverable

trade secret damages of what a prudent investor would have paid for the trade secrets

through their expert, Professor Shane Johnson, so Defendants’ motion for summary

judgment on Plaintiffs’ TUTSA claim should be denied.




                                                 15
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 21 of 30



F.      Defendants Violated the Stored Communications Act.

        Defendants assert that Plaintiffs’ Stored Communications Act (“SCA”) claim fails.

If anything, the opposite is true: Plaintiffs have conclusively established that Kent

violated the SCA. Kent “intentionally accesse[d] without authorization a facility through

which     an     electronic     communication           service   is   provided”       and     “thereby

obtain[ed] . . . access to a wire or electronic communication while it is in electronic storage

in such system.” See 18 U.S.C.A. § 2701(a); see Garcia v. City of Laredo, Tex., 702 F.3d 788,

792 (5th Cir. 2012) (“Courts have interpreted the statute to apply to providers of a

communication service such as telephone companies, Internet or e-mail service

providers, and bulletin board services.”); see also, e.g., Steve Jackson Games, Inc. v. United

States Secret Service, 36 F.3d 457, 462–63 (5th Cir. 1994) (finding SCA applied to cover the

seizure of a computer used to operate an electronic bulletin board system).

        The SCA clearly applies to Rigzone.com and Kent’s criminal activities. First,

similar to electronic bulletin boards and messaging systems, Rigzone.com is an online

platform that allows members, recruiters, and employers to “send or receive wire or

electronic communications.” 18 U.S.C.A. § 2510(15). Users on Rigzone can create profiles,

create resumes, post resumes, upload resumes, edit resumes, share resumes, and apply

for jobs.32 Rigzone customers (typically recruiters) can also solicit members directly from

the site (depending on an individual member’s privacy settings). 33 Each time a user



32D. Kent Orig. Answer (ECF 17) at ¶24-26; D. Kent Dep Tr. (ECF 227; Ex. 4) at 125:18-24.
33D. Kent’s Orig. Answer (ECF No. 17) at ¶26; Rigzone Terms of Use (Ex. 3) at 7 (“The Site is a portal for
news and recruitment services in the energy industry. The Site contains job poistings (directly and
indirectly, sometimes with the help of third parties) by employers, recruiters, and staffing agencies of
available job opportunities at their companies or companies they represent and by jobseekers posting their

                                                   16
    Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 22 of 30



engages in one of these activities, the user sends a wire communication for the purpose

of the Stored Communications Act.

       Second, Kent admitted in open court that he “intentionally accessed without

authorization the database of” Rigzone.com, and he “took the resumes for [his]

commercial advantage to help [his] business Oilpro.”34 Kent also admitted that

Rigzone.com required a password, and he circumvented the password requirement to

gain access to Rigzone.com without authorization to steal hundreds of thousands of

individual resumes, personal email addresses, and other confidential and proprietary

information that was being held in electronic storage in Rigzone’s database.35

       Defendants contend that Plaintiffs have no proof that the resumes stolen by Kent

were “in electronic storage.” This is not right. The SCA defines the term “electronic

storage” as “(A) any temporary, intermediate storage of a wire or electronic

communication incidental to the electronic transmission thereof; and (B) any storage of

such communication by an electronic communication service for purposes of backup

protection of such communication.” 18 U.S.C.A. § 2510(17). Where a website like Rigzone

stores information—in this case, a resume drafted with the specific intent to convey

personal information to potential employers—“[a]n obvious purpose for storing [the

resume] . . . after delivery is to provide a second copy of the [resume] in the event that




own career history and/or resumes/CVs; postings by sellers of advertisements for new and used energy
industry services, equipment, and machinery; the postings by companies in the energy industry related to
their companies; the posting of energy industry events, new, analysis, industry forecasts, salary and
employer surveys and commentary, and other information related to the energy industry. . .”)
34 D. Kent Sentencing Hearing Tr. (ECF 227, Ex. 2) at 13:6-9.
35 Id. at 16:22-17:4.


                                                  17
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 23 of 30



the user needs to download it again—if, for example, the [resume] is accidentally erased

from the user’s own computer. The [Rigzone] copy of the message functions as a

“backup” for the user. Notably, nothing in the Act requires that the backup protection be

for the benefit of [Rigzone] rather than the user. Storage under these circumstances thus

literally falls within the statutory definition.” Theofel v. Farey-Jones, 359 F.3d 1066, 1075

(9th Cir. 2004); see also Int'l Bhd. of Elec. Workers, Local 134 v. Cunningham, No. 12 C 7487,

2013 WL 1828932, at *4 (N.D. Ill. Apr. 29, 2013) (holding that “remotely access[ing] the

Plaintiffs’ confidential Labor Power database without authorization in order to obtain the

e-mail addresses of Plaintiffs' members” can constitute an SCA violation); Cheng v. Romo,

No. CIV.A. 11-10007-DJC, 2013 WL 6814691, at *4 (D. Mass. Dec. 20, 2013); Pure Power

Boot Camp v. Warrior Fitness Boot Camp, 587 F.Supp.2d 548, 555 (S.D. N.Y.2008) (noting

that “[t]he majority of courts which have addressed the issue have determined that e-

mail stored on an electronic communication service provider’s systems after it has been

delivered, as opposed to e-mail stored on a personal computer, is a stored communication

subject to the SCA).

G.     Plaintiffs Can Establish A RICO Claim.

       Employing the “everything-but-the-kitchen-sink” approach, Defendants claim

that Plaintiffs cannot establish any elements of a RICO claim. Defendants’ RICO

arguments are mostly frivolous and totally unsound.

       1.     Defendants’ Acts Were Continuous.

       “To establish a ‘pattern of racketeering activity’ under RICO, the plaintiff must

allege two or more related predicate offenses.” Arroyo v. Oprona, Inc., No. CV H-16-852,


                                             18
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 24 of 30



2017 WL 3866425, at *2 (S.D. Tex. Sept. 5, 2017), aff’d, No. 17-20576, 2018 WL 2026996 (5th

Cir. Apr. 30, 2018), opinion withdrawn and superseded on reh’g, 736 F. App’x 427 (5th Cir.

2018), and aff’d, 736 F. App’x 427 (5th Cir. 2018). “The element of relatedness is

established if the acts have the ‘same or similar purposes, results, participants, victims,

or methods of commission. To establish continuity, plaintiffs must prove continuity of

racketeering activity, or its threat. This may be shown by either a closed period of

repeated conduct, or an open-ended period of conduct that by its nature projects into the

future with a threat of repetition.” Word of Faith World Outreach Ctr. Church, Inc. v. Sawyer,

90 F.3d 118, 122 (5th Cir. 1996) (internal citations and quotations omitted).

          Without citing a single case to support their position, Defendants argue that

Plaintiffs cannot establish open ended continuity because “Plaintiffs allege that Kent’s

goal was to sell Oilpro to DHI, Kent and Oilpro’s alleged RICO actions could not have

continued indefinitely. Once the alleged sale to DHI occurred, no threat of continued

activity would exist.”36        This does not make any sense: just because Kent hoped to

bamboozle DHI into buying back its own stolen intellectual property does not mean he

would have succeeded. Indeed, he did not. Defendants also do not have any evidence

that Kent would have stopped committing wire fraud or violating the Stored

Communications Act had he not been caught. In any event, Plaintiffs can establish open

ended continuity.




36   Defendants’ Motion for Summary Judgment (ECF 231) at 41.

                                                  19
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 25 of 30



        “An open period of conduct involves the establishment of a threat of continued

racketeering activity. This may be shown where there exists a specific threat of repetition

extending indefinitely into the future, or where it is shown that the predicates are a

regular way of conducting defendant's ongoing legitimate business.” Word of Faith, 90

F.3d at 122 (internal citations and quotations omitted).

        In their Motion, Defendants’ seem to brag about the systematic and efficient way

they looted the Rigzone Resume Database. During the First Round of Access, Kent stole

tens of thousands of Rigzone resumes in only eight days, 37 while Kent’s continued series

of thefts—during which Kent took the resumes Rigzone acquired when it paid $26 million

for OilCareers.com—only “spanned a few days during a two-month period38, lasting

only through August 2, 2015.”39

        The record leaves no doubt that Kent is indeed a prolific hacker and an efficient

thief, but Defendants’ own brief establishes that Kent committed 796,000 separate

violations of the Stored Communications Act/acts of Wire Fraud over at least 10 days

widely spread out over a two year period in pursuit of one goal: to illicitly increase

Oilpro’s value. These admissions, along with Defendants improper use of Rigzone’s

Google Analytics data, 40 provide more than enough evidence to support a finding of a

“specific threat of repetition extending indefinitely into the future.”



37 Id.
38 Defendants do not cite any evidence to support the assertion that this second series of hacks took place
over a “few” days.
39 Defendants’ Motion for Summary Judgment (ECF 231) at 41.
40 Oilpro, Kent, and Eduard Dufrin also violated the SCA and committed wire fraud each time they accessed

Rigzone’s Google Analytics account without permission and used the numbers to benefit Oilpro. See Robins
Dep. Tr. (Ex. 4) at 36:2-38:2; Dufrin Dep. Tr. (Ex. 5) at 59:5-10.

                                                    20
       Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 26 of 30



           Defendants further claim that Plaintiffs cannot show “closed continuity” because

“more than a year” passed after Kent finished the First Round of hacks before he returned

to steal the new Oilcareers.com resumes. 41 This just isn’t so. Throughout his much

ballyhooed “break” from criminality, David Kent actively participated in an ongoing

criminal conspiracy to illegally hack into and make use of Rigzone’s Google Analytics

Account without Rigzone’s consent. 42 And even if the “pause” had occurred, Kent’s

systematic hacking is sufficient to allow a reasonable juror to conclude that these acts

were “’a series of related predicates extending over a substantial period of time.’” Word

of Faith, 90 F.3d at 122 (quoting H.J., Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229 (1989)).

           2.       Plaintiffs Sustained RICO Damages.

           Defendants’ claim that Defendants cannot prove RICO damages is also unsound.

Section 1962(c) allows for the award of treble damages for any “person injured in his

business or property.” Defendants do not cite a single case to support their assertion that

Plaintiffs’ RICO damages are limited to lost profits, and the statute does not support such

a reading. On remedies, the RICO statute states that a prevailing Plaintiff

“shall recover threefold the damages he sustains.” Id. As noted above, the Fifth Circuit has

repeatedly held damages for the theft of trade secrets “can take several forms: the value

of plaintiff’s lost profits; the defendant’s actual profits from the use of the secret, the value

that a reasonably prudent investor would have paid for the trade secret; the development costs the




41   Defendants’ Motion for Summary Judgment (ECF 231) at 41.
42   Robins Dep. Tr. (Ex. 4) at 36:2-38:2; Dufrin Dep. Tr. (Ex. 5) at 59:5-10.

                                                         21
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 27 of 30



defendant avoided incurring through misappropriation; and a reasonable royalty.” 578

Fed.Appx. at 390 (quoting Wellogix, 716 F.3d at 879) (emphasis added).

          3.      The Remainder of Defendants’ Kitchen Sink Arguments Are Frivolous.

           Defendants state Plaintiffs “lack sufficient evidence to prove the existence of

either a legal entity or an association- in-fact sufficient to constitute a RICO enterprise.”43

A RICO enterprise can be “any individual, partnership, corporation, association, or other

legal entity, and any union or group of individuals associated in fact although not a legal

entity.” 18 U.S.C. § 1961(4). In cases in which a “legal entity is the enterprise, proof that

the entity has a legal existence satisfies the enterprise element.” United States v. Cauble,

706 F.2d 1322, 1340 (5th Cir. 1983). An enterprise may be an illegitimate enterprise, e.g.,

a Mafia family, or a wholly legitimate enterprise, e.g., a corporation. United States v.

Turkette, 452 U.S. 576, 580–81 (1981).

          Here, the enterprise is Oilpro and the RICO Defendant who operated the

enterprise is David Kent. See Cedric Kushner Promotions, Ltd. v. King, 533 U.S. 158, 161

(2001) (“The corporate owner/employee, a natural person, is distinct from the

corporation itself, a legally different entity with different rights and responsibilities due

to its different legal status. And we can find nothing in [RICO] that requires more

‘separateness’ than that.”).

H.        Plaintiffs Have Evidence Of Damages Under The CFAA.

          Defendants argue that there is no genuine issue of material fact about whether

Plaintiffs have suffered damages under the Computer Fraud and Abuse Act. But in their


43   Defendants’ Motion for Summary Judgment (ECF 231) at 47.

                                                  22
     Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 28 of 30



Motion, Defendants acknowledge the record contains evidence DHI incurred $403,307 in

employee time, vendor costs, and legal fees to investigate and combat Kent’s illegal

activity. 44 Defendants also omit that Plaintiffs had to hire Mandiant—a computer

forensics firm—to review their computer systems as a result of Kent’s misconduct.

Together, this evidence presents a genuine issue of material fact on Plaintiffs’ CFAA

claim. See, e.g., Fiber Sys. Intern., Inc. v. Roehrs, 470 F.3d 1150, 1157 (5th Cir. 2006) (vacating

take-nothing judgment on plaintiff’s CFAA claim based on lack of damages or loss and

remanding case for entry of judgment on the jury’s CFAA verdict where Plaintiff spent

$36,000 investigating and responding to security breaches). 45

I.     Defendants Are Not Entitled To Summary Judgment On Plaintiffs’ THACA
       Claim.

       Defendants argue that “Plaintiffs lack sufficient damages to establish a THACA

claim.” Once again, the law does not support Defendants’ argument: THACA “merely

requires that the access be without effective consent; it does not require injury.” Sw.

Airlines Co. v. Farechase, Inc., 318 F. Supp. 2d 435, 443 (N.D. Tex. 2004); Puig v. High

Standards Networking & Computer Serv., Inc., 01-16-00921-CV, 2017 WL 4820171, at *5 (Tex.

App.—Houston [1st Dist.] Oct. 26, 2017, no pet.). In other words, the access is the injury.

Id. Even if Plaintiffs had to allege an injury, their having to hire Mandiant and Holland




44Defendants’ Motion for Summary Judgment (ECF 231) at 52.
45As for Defendants’ assertion that Defendants’ have already paid restitution to DHI for Kent’s admitted
violations of the CFAA, this fact is irrelevant at this stage. Any deduction will be made after the jury
evaluates damages.


                                                  23
      Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 29 of 30



and Knight, not to mention cooperate with the FBI, would create a genuine issue of

material fact on that point.

J.        Limitations Does Not Bar Plaintiffs’ Claims Based On First Access.

          Finally, Defendants assert that the two-year statute of limitations precludes

Defendants from recovering damages related to certain claims. Plaintiffs own cited

materials demonstrate that this argument lacks merit. While Plaintiffs do not dispute that

they contacted the FBI in May 2014, Defendants misleadingly cite an email from Holland

& Knight to the Department of Justice to create the impression that “DHI also informed

the FBI that it believed Oilpro was responsible” before filing this lawsuit. In reality, this

email was sent more than three weeks after Plaintiffs filed this suit. 46

                                       V.      CONCLUSION

          For the reasons set forth above, Plaintiffs request that the Court deny Defendants’

Motion for Summary Judgment.




46   7/02/14 Email From DHI to Department of Justice (ECF 233) at Appendix 000121.

                                                   24
   Case 4:16-cv-01670 Document 240 Filed in TXSD on 11/16/18 Page 30 of 30



                                     Respectfully submitted,
                                     JORDAN, LYNCH & CANCIENNE PLLC

                                     By: s/ Walter Lynch
                                         Walter Lynch
                                         State Bar No. 24046330
                                         Federal I.D. No. 965265
                                         Amir Halevy
                                         State Bar No. 24065356
                                         Federal I.D. No. 1259956
                                         Joseph (“Jeb”) W. Golinkin II
                                         State Bar No. 24087596
                                         Federal I.D. No. 2515657
                                         1980 Post Oak Blvd., Ste. 2300
                                         Houston, Texas 77056
                                         713-955-4020 (Telephone)
                                         713-955-9644 (Fax)
                                         wlynch@jlcfirm.com
                                         ahalevy@jlcfirm.com
                                         jgolinkin@jlcfirm.com

                                       ATTORNEYS FOR PLAINTIFFS DHI GROUP,
                                       INC. F/K/A DICE HOLDINGS, INC. AND
                                       RIGZONE.COM, INC.


                            CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing document has been served
by ECF on all counsel of record on this 16th day of November, 2018.


                                          /s/ Jeb Golinkin
                                          Joseph W. Golinkin II




                                         25
